                                                      SO ORDERED.


                                                      Dated: December 16, 2021


1

2
                                                      Eddward P. Ballinger Jr., Bankruptcy Judge
3                                                     _________________________________

4

5

6
                     IN THE UNITED STATES BANKRUPTCY COURT
7
                           FOR THE DISTRICT OF ARIZONA
8
     In re:                         )     In Chapter 7 Proceedings
9                                   )
     HOME OPPORTUNITY, LLC;         )     Case No. 2:21-BK-04924-EPB
10                                  )
                         Debtor.    )
11                                  )

12
                              ORDER CONFIRMING SALE
13
               The trustee having conducted an auction sale of certain
14
     property of the estate at a duly noticed sale (Admin. Dkt. No. 34); and
15
               The high bidder having made payment of the purchase price and
16
     the trustee having filed a report of sale at Admin. Dkt. No. 76; and
17
               Good cause appearing.
18
               IT IS ORDERED that the trustee’s auction sale of all right,
19
     title and interest of the bankruptcy estate and the debtor in and to
20
     the real property described in the sale notice at Admin. Dkt. No. 34
21
     (excluding Item 55.31 as set forth in the sale notice) to Gopal, LLC for
22
     $112,500.00 is approved and confirmed, subject to taxes and assessments,
23
     reservations, and all easements, rights of way, covenants, conditions,
24
     restrictions, liens and encumbrances of record. The property is sold “as
25
     is”.
26
                              DATED AND SIGNED ABOVE.
27

28
